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                                 United States District Court
                                        EASTERN DISTRICT OF TEXAS
                                           TEXARKANA DIVISION


    UNITED STATES OF AMERICA                             §
                                                         §
    V.                                                   §            CASE NO. 5:06CR17(1)
                                                         §
    MIKE ADAN FELIX                                      §


                   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                             FINDING DEFENDANT GUILTY

            On this day, the Court considered the Findings of Fact and Recommendation of United States

    Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 1 of an Indictment in

    violation of Title 21, USC, Section 846, Conspiracy to Possess with the Intent to Distribute Cocaine. Having

    conducted a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge

    recommends that the Court accept the guilty plea of the Defendant. Objections to the Findings of Fact and

    Recommendation have been waived by all parties. The Court is of the opinion that the Findings of Fact and

    Recommendation should be accepted.

.           It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

    Magistrate Judge, filed March 6, 2007, are hereby ADOPTED.

            It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

    GUILTY of Count 1 of the Indictment in the above-numbered cause.

           SIGNED this 22nd day of March, 2007.




                                                             ____________________________________
                                                             DAVID FOLSOM
                                                             UNITED STATES DISTRICT JUDGE
